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 6
 7                                   UNITED STATES DISTRICT COURT

 8                                       DISTRICT OF ARIZONA

 9 HKB, Inc., an Arizona Corporation,           No. 2:16-cv-03799-DJH
   dba Southwest Industrial Rigging,            No. 2:17-cv-00198-DJH
10
                         Plaintiff,             ANSWER TO BOARD OF TRUSTEES
11
   v.                                           FOR THE SOUTHWEST CARPENTER’S
12                                              SOUTHWEST TRUST’S COMPLAINT
   Board of Trustees for the Southwest
13 Carpenter’s Southwest Trust; et al.,
14                       Defendants.
   Board of Trustees for the Southwest
15 Carpenter’s Southwest Trust; et al.,
16                       Plaintiffs,
17 v.
18 HKB, Inc., an Arizona Corporation,
   dba Southwest Industrial Rigging, et
19 al.,
20                      Defendants.
21
22            HKB, Inc., dba Southwest Industrial Rigging (“Southwest”) hereby answers the
23 Complaint filed by Carpenters Southwest Administrative Corporation and Board of
24 Trustees for the Southwest Carpenter’s Southwest Trust (collectively, the “Funds”) as
25 follows:
26                                          JURISDICTION
27            1.       Southwest admits that the District of Court of Arizona has jurisdiction
28 over the present action. Southwest denies that the Trust is entitled to recover fringe

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 1 benefit contributions or any other sum from Southwest.
 2         FIRST CLAIM FOR RELIEF – FRINGE BENEFIT CONTRIBUTIONS
 3            2.       Upon information and belief, Southwest admits that the Trust is a non-
 4 profit corporation organized in California.
 5            3.       Southwest lacks sufficient information or belief to admit or deny the
 6 allegations of Paragraph 3.
 7            4.       Southwest denies that it owes any amounts to the Trust or that there are
 8 any “delinquencies” attributable to Southwest. Southwest lacks sufficient information
 9 or belief to admit or deny the remaining allegations of Paragraph 4.
10            5.       Southwest lacks sufficient information or belief to admit or deny the
11 allegations of Paragraph 5.
12            6.       Southwest lacks sufficient information or belief to admit or deny the
13 allegations of Paragraph 6.
14            7.       Southwest lacks sufficient information or belief to admit or deny the
15 allegations of Paragraph 7.
16            8.       Southwest lacks sufficient information or belief to admit or deny the
17 allegations of Paragraph 8.
18            9.       Southwest lacks sufficient information or belief to admit or deny the
19 allegations of Paragraph 9.
20            10.      Southwest lacks sufficient information or belief to admit or deny the
21 allegations of Paragraph 10.
22            11.      Southwest lacks sufficient information or belief to admit or deny the
23 allegations of Paragraph 11.
24            12.      Southwest denies that there are any “collective bargaining agreements
25 involved” to the extent such allegation implies that Southwest is bound by the
26 “Memorandum Agreement” referred to in the Complaint. Southwest lacks sufficient
27 information or belief to admit or deny the remaining allegations of Paragraph 12.
28
                                                   2
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 1            13.      Southwest denies that any of the “Unions” referenced in the Complaint
 2 have jurisdiction over Southwest. Southwest is a construction-related company that,
 3 among other things, performs maintenance and repair work at the Palo Verde Nuclear
 4 Generating Station just west of Phoenix (the “Power Plant”) twice a year for 4-6 weeks
 5 at a time. Southwest denies the remaining allegations of Paragraph 13.
 6            14.      Admitted.
 7            15.      Denied.
 8            16.      Southwest denies that it is bound by the “Memorandum Agreement,”
 9 “Agreement,” or “Master Labor Agreement” referred to in the Complaint, and denies
10 that it is bound by any agreement referred to in Paragraph 16 or any other agreement
11 referred to in the Complaint. Southwest further states that the allegations of Paragraph
12 16 contain legal conclusions to which no response is required.           Southwest lacks
13 information or belief as to whether “the PLANS are third party beneficiaries of the
14 MEMORANDUM AGREEMENT and Master Labor Agreements.” Southwest denies
15 the remaining allegations of Paragraph 16.
16            17.      Southwest denies that it is bound by the “Agreements,” referred to in
17 Paragraph 17 or any other agreement referred to in the Complaint. Southwest further
18 states that the allegations of Paragraph 17 contain legal conclusions to which no
19 response is required. Southwest denies the remaining allegations of Paragraph 17.
20            18.      Southwest denies that it is bound by the “Agreements,” referred to in
21 Paragraph 18 or any other agreement referred to in the Complaint. Southwest further
22 states that the allegations of Paragraph 18 contain legal conclusions to which no
23 response is required. Southwest denies the remaining allegations of Paragraph 18.
24            19.      Southwest denies that it is bound by the “Agreements,” referred to in
25 Paragraph 19 or any other agreement referred to in the Complaint. Southwest further
26 denies that Southwest owes damages or payment to the “Plans” or to the Funds.
27 Southwest further states that the allegations of Paragraph 19 contain legal conclusions to
28
                                                  3
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 1 which no response is required. Southwest denies the remaining allegations of Paragraph
 2 19.
 3            20.      Denied.
 4            21.      Southwest denies that it is bound by the “Agreements,” referred to in
 5 Paragraph 21 or any other agreement referred to in the Complaint. Southwest further
 6 denies that it owed “fringe benefit contributions in the manner described in the
 7 [Agreements],” and therefore denies that it has failed to pay any amounts to the “Plans”
 8 or to the Funds. Southwest further states that the allegations of Paragraph 21 contain
 9 legal conclusions to which no response is required. Southwest denies the remaining
10 allegations of Paragraph 21.
11            22.      Southwest denies that it is bound by the “Agreements,” referred to in
12 Paragraph 22 or any other agreement referred to in the Complaint. Southwest further
13 states that the allegations of Paragraph 22 contain legal conclusions to which no
14 response is required. Southwest denies the remaining allegations of Paragraph 22.
15            23.      Southwest denies that it is bound by the “Agreements,” referred to in
16 Paragraph 23 or any other agreement referred to in the Complaint. Southwest further
17 denies that it owed “fringe benefit contributions in the manner described in the
18 [Agreements],” and therefore denies that it has failed to pay any amounts to the “Plans”
19 or to the Funds, and further denies that it is liable for interest or any other amount under
20 the Agreements. Southwest further states that the allegations of Paragraph 23 contain
21 legal conclusions to which no response is required. Southwest denies the remaining
22 allegations of Paragraph 23.
23            24.      Southwest denies that it is bound by the “Agreements,” referred to in the
24 Complaint. Southwest further denies that it owed “contributions” to the “Plans” or to
25 the Funds and therefore denies that it “failed to report and pay . . . contributions.”
26 Southwest lacks information or belief as to the remaining allegations of Paragraph 24
27 and on that basis denies them.
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 1            25.      Southwest denies that it is bound by the “Agreements” referred to in
 2 Paragraph 25 or any other agreements referred to in the Complaint. Southwest further
 3 denies that it owed “fringe benefit contributions in the manner described in the
 4 [Agreements],” and therefore denies that it has failed to pay any amounts to the “Plans”
 5 or to the Funds, or that it is liable for “interest” or “liquidated damages” under the
 6 “Agreements.” Southwest denies the remaining allegations of Paragraph 25.
 7            26.      Denied.
 8            27.      The allegation in Paragraph 27 as to what “all conditions precedent” refers
 9 to and therefore Southwest cannot respond to Paragraph 27.                   Southwest lacks
10 information or belief as to the allegations of Paragraph 27 and on that basis denies them.
11            28.      Southwest lacks information or belief as to the remaining allegations of
12 Paragraph 28 and on that basis denies them.
13            29.      Defendants Baker, Miller, and Wilson previously obtained summary
14 judgment on the Funds claims, so no answer is required for the allegations in
15 Paragraphs 29-37. To the extent that any answer is required, the allegations are denied.
16                                   AFFIRMATIVE DEFENSES
17            1.       The Funds’ claims are barred in whole or in part by the applicable statutes
18 of limitations, including, without limitation, A.R.S. § 12-541.
19            2.       The Funds’ claims are barred in whole or in part by the doctrines of
20 laches, unclean hands, waiver, accord and satisfaction, estoppel, failure of
21 consideration, agency, unconscionability, unjust enrichment, and fraud in the
22 inducement, failure to exhaust administrative remedies, and fraud.
23            3.       As the Union knew or should have known, Southwest did not (and would
24 not) authorize the signing of any of the alleged documents.
25            4.       Southwest’s representative lacked actual or apparent authority to enter any
26 of the agreements alleged in this case.
27            5.       The Funds’ Complaint, and each cause of action therein, fails to state
28
                                                    5
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 1 claims upon which relief can be granted or damages sought can be awarded.
 2            6.       The Funds’ Complaint is barred because any recovery from Southwest by
 3 the Funds would result in the Funds’ unjust enrichment.
 4                                        REMEDIES REQUESTED
 5            7.       Judgment for Southwest and against the Funds;
 6            8.       The Funds’ Complaint be dismissed in its entirety with prejudice;
 7            9.       The Funds take nothing by reason of their Complaint;
 8            10.      Southwest be awarded its reasonable costs and attorneys’ fees under
 9 A.R.S. § 12-341.01, and any other applicable statutes.
10
11            RESPECTFULLY SUBMITTED 19th day of July, 2018.
12                                                       STINSON LEONARD STREET LLP
13
                                                 By:     /s/ James E. Holland, Jr.
14
                                                         James E. Holland, Jr.
15                                                       Javier Torres
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16                                                       Phoenix, Arizona 85004-4584
                                                         Attorneys for HKB, Inc. dba Southwest
17                                                       Industrial Rigging
18
19                                      CERTIFICATE OF SERVICE
20            I hereby certify that on July 19, 2018 I caused the foregoing document to be filed
21 electronically with the Clerk of Court through ECF; and that ECF will send an e-notice
22 of the electronic filing to:
23                                              Daniel M Shanley
                                                Thomas L. Davis
24                                             DeCarlo & Shanley
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27
                                                       /s/ C. Roundtree
28
                                                         6
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